Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 1 of 10



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. DIMITROULEAS/SNOWUNITED


   STATES OF AMERICA


   v.


   DR. JOSE SANTEIRO,


          Defendant.
                                       /

                DR. SANTEIRO’S SUPPLEMENTAL SENTENCING
                             MEMORANDUM

        Dr. Santeiro submits this supplement to his original sentencing memorandum to

  respond, in part, to the government’s sentencing memorandum [D.E. 738] and

  sentencing proposal.

        This case, and Dr. Santeiro’s individual culpability, has gone from generally

  being an absent physician and medical director, who should have retired, to: “Dr.

  Santeiro therefore caused even more financial loss, and committed fraud more

  pervasively, than did even Jonathan Markovich” [D.E. 738 at p. 2] and “There is no

  escaping the fact that Dr. Santeiro’s conduct was more expansive, and resulted in

  greater loss, than any other defendant in this case.” [D.E. 738 at p. 9].

        The government’s purported “limited “use of 404(b) extrinsic evidence relating

  to Florida Life and Future Now, for the purpose of proving intent has now (at
                                              1
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 2 of 10



  sentencing as it did at trial) taken on a life of its own, becoming not just a feature in

  this case, but the main attraction.   The government devotes five pages – the most

  specific, heavily-cited five pages -- of its sentencing memorandum to Florida Life and

  Future Now. [D.E.738 at pp. 4-9].        Florida Life and Future have gone extrinsic

  matters, used to prove intent, based on “trends” the government’s “summary witness”

  observed in “samples of patient files” to: “Dr. Santeiro Committed Health Care Fraud

  at Florida Life and Future Now.” [D.E. 738 at 4]. It is therefore unsurprising (but still

  shocking) that the primary driver of the government’s proposed loss calculation as to

  Dr. Santiero are Florida Life and Future Now. [D.E. 738 at pp. 8-9].

        The governments arguments about the evidence, the sentencing guidelines and

  Dr. Santeiro’s individual culpability are at best speculative and unsupported by the

  record.

        Whatever the jury verdict means, the verdict is not an authorization to

  indiscriminately apply the sentencing guidelines, the verdict is not an invitation to

  abdicate the individualized application of the sentencing factors in 18 U.S.C. § 3553,

  and the verdict does not absolve the government of its burden of proof at sentencing.

        While the government’s burden is measured against a preponderance standard,

  the Court must ensure that the government carries this burden by presenting reliable

  and specific evidence. United States v. Lawrence, 47 F.3d 1559, 1566 (11th Cir.1995).

  And despite what the government’s sentencing memorandum might suggest, this is a

                                              2
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 3 of 10



  real burden, which the Eleventh Circuit has described by pointing to the following

  description:

        Although not as rigorous as the reasonable doubt or clear and convincing
        standards, the preponderance standard is not toothless. It is the district
        court's duty to ensure that the Government carries this burden by
        presenting reliable and specific evidence. As one of our sister circuits
        noted: [T]he Guidelines do not reduce district court judges to mere
        automatons, passive compilers of ciphers, or credulous naifs who must
        accept as canon all that which is presented to them regarding a defendant's
        involvement in the crime charged or conduct relevant thereto.... [T]he
        preponderance of the evidence standard ... does not relieve the sentencing
        court of the duty of exercising the critical factfinding function that has
        always been inherent in the sentencing process.... [The standard signifies]
        a recognition of the fact that if the probation officer and the prosecutor
        believe that the circumstances of the offense, the defendant's role in the
        offense, or other pertinent aggravating circumstances, merit a lengthier
        sentence, they must be prepared to establish that pertinent information by
        evidence adequate to satisfy the judicial skepticism aroused by the
        lengthier sentence that the proffered information would require the district
        court to impose.

  Lawrence, 47 F.3d 1559, 1566–67 (11th Cir. 1995)(citing United States v. Wise, 976
  F.2d 393, 402-03 (8th Cir. 1992),cert. denied,___ U.S. ___, 113 S.Ct. 1592, 123
  L.Ed.2d 157 (1993) .

        For example, regarding loss, the Eleventh Circuit outlined the government’s

  obligation as follows:

        The government bears the burden of proving by a preponderance of the
        evidence actual loss attributable to the defendant's conduct. United States
        v. Rodriguez, 751 F.3d 1244, 1255 (11th Cir. 2014). "[A] sentencing court
        is not generally required to make detailed findings of individualized losses
        to each victim." United States v. Orton, 73 F.3d 331, 335 (11th Cir. 1996)
        (considering the similar predecessor guideline, U.S.S.G. § 2F1.1 ).
        Instead, the court may employ a variety of methods to derive a "reasonable
        estimate of the loss" to the victims based on the information available to
                                             3
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 4 of 10



        the district court. United States v. Snyder, 291 F.3d 1291, 1295 (11th Cir.
        2002) ; accord United States v. Ford , 784 F.3d 1386, 1396 (11th Cir.
        2015) ; see also U.S.S.G. § 2B1.1 cmt. n.3(C)(iv) (providing that district
        courts should "tak[e] into account, as appropriate and practical under the
        circumstances," a variety of factors including the "approximate number of
        victims multiplied by the average loss to each victim"). Although the
        district court may estimate the amount of loss, it cannot "speculate about
        the existence of facts and must base its estimate on reliable and specific
        evidence." Ford, 784 F.3d at 1396 ; accord United States v. Sepulveda ,
        115 F.3d 882, 890-91 (11th Cir. 1997).

  United States v. Stein, 846 F.3d 1135, 1152 (11th Cir. 2017).

        In Stein, a securities fraud case, the Eleventh Circuit reversed for resentencing

  because the Court did not require the government to prove, with specificity, facts that

  affected the defendant’s loss calculation. Id. at 1156. In reaching this conclusion, the

  court went through an extensive analysis of loss determination, setting forth a two-part

  inquiry, consisting of factual causation and legal causation. Id. at 1153-55. The court

  held that the government had failed to prove the loss amount under both types of

  causation. Id.

        The Stein case is instructive because, the government in Stein argued that the

  loss calculation should encompass 2,415 investors that lost money, without regard to

  whether the investors actually relied on the defendant’s misrepresentation and without

  regard to whether intervening events lowered the defendant’s loss amount. Id.

        As to investor reliance, the Stein court held that the testimony, victim impact

  statements and testimony that the only source for stock information was public filings,

                                             4
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 5 of 10



  was “insufficient to support the inference that all 2,415 investors relied on Mr. Stein's

  fraudulent information when deciding to purchase Signalife stock.” Id. at 1154. The

  court went on to note that “on this thin record, the district court ‘"engage[d] in the kind

  of speculation forbidden by the Sentencing Guidelines."’ Id. (citations omitted).

        As to intervening events, the court in Stein held that sentencing court failed to

  consider whether the stock decline that the defendant argued was attributable to short-

  selling and a general market decline were unforeseeable and should result in a lower

  loss amount. Id. at 1155-56. The Court noted that “[o]nce Mr. Stein pointed to

  intervening events that may have affected the stock price, the district court was obliged

  to make findings regarding the effects of these intervening events, if any, and whether

  these events were reasonably foreseeable to Mr. Stein.” Id. at 1156.

        The reasoning in Stein translates directly to a rejection of the indiscriminate loss

  amount arguments advanced by the government as to Dr. Santeiro. This Court has

  obviously recognized the flaw in the government’s view of the evidence and loss

  calculations, by rejecting and reducing the government’s loss proposals as to every

  other defendant to be sentenced in this matter. The Court has reduced the loss amount

  to 10% of what the government has proposed for every other defendant

        However, consistent with the applicable law, and contrary to what the

  government takes as a given, the Court should “discount” – to use the government’s

  word – Dr. Santeiro’s loss amount as to Compass and War more so than any other

                                               5
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 6 of 10



  defendant. While the reasoning behind the “discounts” applied to other defendants

  equally applies to Dr. Santeiro, the evidence at trial established that Dr. Santeiro was

  never told and had no way of knowing or foreseeing what the defendants that received

  the 90% discount were doing because they were actively lying to him on almost every

  front.

           Take Dr. Lieberman, for example: The government outlandishly still claims that

  Dr. Santeiro “allowed” Dr. Lieberman to use his credentials and that this was a “blank

  check”, when the testimony at trial by Dr. Lieberman was that Dr. Lieberman – a

  highly regarded and credentialed physician – was impersonating Dr. Santeiro in the

  medical records software, was actively involved in sedating patients with the comfort

  drink, discussed the need and desire to increase patient numbers with co-conspirators,

  was physically at Compass to see what was going on, all the while understanding that

  Dr. Santiero trusted Lieberman’s judgment because Santeiro told Lieberman as much.

  Dr. Lieberman also testified that Miami’s most respected and responsible physicians

  had relied on Dr. Lieberman for decades and that those physicians reasonably relied on

  him based on his reputation and experience, and because he gave them no reason to

  distrust him. This is no less applicable to Dr. Santeiro. Additionally, there was zero

  evidence presented by the government, either through witness testimony or written

  communication, regarding conversations with Dr. Santeiro permitting the improper use

  of his credentials.


                                              6
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 7 of 10



        Add to this, the testimony that established the secret kick back agreement

  between Garnto and Markovich, which was kept from Santeiro. Add to this, the

  testimony that Garnto and others were actively getting patients high to qualify for

  treatment and paying the patients, which was also kept from Santeiro. Add to this, the

  evidence established laboratory testing ordered in the name of Dr. Santiero, but in

  reality, auto-generated by the software using an IP address of 0.0.0.

        These lies, all of which the government has acknowledged, are the kind of

  “intervening events” discussed in Stein and which were not foreseeable to Dr. Santeiro

  under any of the government’s evolving theories. This begs the question: How much

  of the 10% loss should be attributable to Dr Santeiro when that 10% has been applied

  to demonstrably – as in there is actual evidence of it – more culpable defendants, who

  were intricately aware of the scope of the fraud and actively kept Dr. Santeiro in the

  dark? Can that subset be established or determined with any specificity or reliability,

  if we accept for the sake of argument, that Dr. Santeiro was convicted of falling asleep

  at the wheel?

        As the Court is surely aware, if the district court determines that the loss

  "reasonably cannot be determined," the court may use instead "the gain that resulted

  from the offense.”. United States v. Stein, 846 F.3d at 1154. (citing to §2B1.1 cmt.

  n.3(B)). As the Court is also aware, Dr. Santeiro made $267,041 from Compass/War.

        Florida Life and Future now are not relevant conduct just because the

                                             7
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 8 of 10



  government calls it fraud. And because overstatement and exaggeration have been the

  constant in this case, it’s not enough to call it fraud. Nope, it’s all fraud. And as such,

  just because the government says so, it should be included in the loss amount and

  indeed turn out to be the largest loss amount in the case. To call this all speculative

  almost dignifies the argument.

        The actual, provable loss at Compass and War, which were the subject of two

  multi-week trials, saw the testimony of a parade of witnesses, some of whom were

  cooperators that admitted to and described the fraud was reduced by 90% to arrive at

  what this Court felt was the best estimate of the actual loss. Florida Life and Future

  Now, on the other hand, were the subject of a “summary” witness who backed

  handpicked, theory-driven numbers into a chart to identify “trends.” [D.E. 738 at p.

  5]. That Florida Life or Future Now are wholesale frauds, resulting in some loss

  attributable to Dr. Santeiro, is more than just speculative, its imagined. It has not been

  proven by any quantum of proof, much less a preponderance standard. It is not

  supported by any reliable or specific. Frankly, it has all been just argued into existence

  by the government.

        Therefore, to hold Dr. Santeiro accountable for a single dollar of this imaginary

  loss would, to understate it, "engage in the kind of speculation forbidden by the

  Sentencing Guidelines." United States v. Bradley, 644 F.3d 1213, 1292 (11th Cir.

  2011). To do so, would also violate Dr. Santeiro’s Sixth Amendment rights, including

                                               8
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 9 of 10



  the constitutional right as set forth in Apprendi v. New Jersey, 530 U.S. 466 (2000).

        Whatever this Court decides the guidelines are, it is well established that a

  sentencing court “may not presume that the Guideline range is reasonable, but rather

  “must make an individualized assessment based on the facts presented.” Gall v. United

  States, 552 U.S. 38, 50 (2007). The Gall Court specifically rejected the use of rigid

  mathematical formulas to determine whether a variance from the Guidelines’ sentence

  range is justified. Id. at 47. The Court also rejected the idea that “extraordinary

  circumstances” are required to justify a sentence outside the Guidelines’ advisory

  range. Id.

        Thus, as the Court considers what constitutes a reasonable sentence and how the

  § 3553(a) factors weigh as to Dr. Santeiro, we urge the Court to reject the government’s

  dystopian argument on the facts of the case, the sentencing guidelines and Dr.

  Santeiro’s individual culpability.




                                             9
Case 0:21-cr-60020-WPD Document 751 Entered on FLSD Docket 07/06/2022 Page 10 of 10



        The United States Supreme Court has clearly established that our sentencing

  regime is set up to do quite the opposite of what government appears to suggest, and

  that is “to consider every convicted person as an individual and every case as a unique

  study in the human failings that sometimes mitigate, sometimes magnify, the crime and

  the punishment to ensue,” Pepper v. United States, 131 S.Ct. 1229, 1239-40 (2011)

  (internal quotations and citations omitted); and, as such, that “the punishment should

  fit the offender not merely the crime.” Id.

                                                     Respectfully submitted,

                                                     BEATON LAW FIRM PA
                                                     12925 SW 132nd Street, Ste 4
                                                     Miami, Florida 33186
                                                     Tel: (305) 378-5950
                                                     E-mail: mbeaton@beatonlawfirm.com

                                                     /s/ Marcos Beaton Jr.
                                                     Marcos Beaton, Jr.
                                                     Florida Bar No. 0573787
                                                     Counsel for Dr. Jose Santeiro



                                CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that the foregoing document was filed via the Court’s CM/ECF
   system on June 6, 2022 and electronically served on the parties included on the service list.



                                                           /s/ Marcos Beaton Jr.
                                                           Marcos Beaton Jr.

                                                10
